Case: 5:06-cr-00162-DAP Doc #: 111 Filed: 06/12/06 1 of 11. PageID #: 745




  DOWD, J.

                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION

  United States of America,                         )
                                                    )     CASE NO. 5:06 CR 0162
                 Plaintiff,                         )
                                                    )
         v.                                         )     MEMORANDUM OPINION
                                                    )     AND ORDER
  Hakim Malik Ali,                                  )
                                                    )
                 Defendant.                         )
                                                    )


         Before the Court is the motion to suppress filed by defendant Hakim Malik Ali (Doc. No.

  69), the government’s brief in opposition (Doc. No. 79), and defendant’s reply (Doc. No. 95).

  For the reasons discussed below, the motion is DENIED.

                                        I. INTRODUCTION

         Defendant seeks to suppress all evidence obtained following the search of the premises at

  6967 Deer Trail NE, Canton, Ohio on March 9, 2006. He argues, first, that the affidavit filed in

  support of the search warrant application failed to establish probable cause to believe that fruits,

  evidence and instrumentalities of crimes would be contained in the residence and, second, that

  the executing officers failed to comply with the knock and announce requirement. The first issue

  is purely a legal question; the second was to be the subject of an evidentiary hearing conducted

  on June 8, 2006. When the Court convened that hearing, the defendant withdrew his “knock and

  announce” argument. Therefore, the Court need now only decide the legal question of the

  sufficiency of the affidavit to support the warrant to search Ali’s residence.
Case: 5:06-cr-00162-DAP Doc #: 111 Filed: 06/12/06 2 of 11. PageID #: 746




  (5:06 CR 0162)

                                        II. BACKGROUND

         On March 6, 2006, Magistrate Judge James Gallas signed a search warrant for premises

  at 6967 Deer Trail NE, Canton, Ohio 44721. The warrant in question was based on the affidavit

  of Special Agent Mark McMurtry. This affidavit was 54 pages long and consisted of 114

  numbered paragraphs outlining a very lengthy narcotics investigation, beginning in July 2003,

  which identified one Ronald Dede, a co-defendant here, as being involved in the sale and

  distribution of cocaine in the Canton area. The affidavit outlined in considerable detail facts and

  circumstances to support the assertion that Dede, Ali, and five other defendants were engaged in

  a conspiracy to distribute cocaine and that they intentionally distributed and possessed with

  intent to distribute cocaine in violation of 21 U.S.C. § 841(a)(1) and 846.

                                         III. DISCUSSION

  A. Probable Cause and Sufficiency of the Affidavit

         The Fourth Amendment to the U.S. Constitution states that “no Warrants shall issue, but

  upon probable cause, supported by Oath or affirmation . . . .” U.S. Const. amend. IV.

         In Illinois v. Gates, 462 U.S. 213 (1983), the Supreme Court adopted a “totality of the

  circumstances” test for judging the sufficiency of an affidavit supporting an application for a

  search warrant. The Court stated:

         [t]he task of the issuing magistrate is simply to make a practical commonsense
         decision whether, given all the circumstances set forth in the affidavit before him,
         including the “veracity” and “basis of knowledge” of persons supplying hearsay
         information, there is a fair probability that contraband or evidence of a crime will
         be found in a particular place.




                                                   2
Case: 5:06-cr-00162-DAP Doc #: 111 Filed: 06/12/06 3 of 11. PageID #: 747




  (5:06 CR 0162)

  Id. at 238. The Gates Court explained that “probable cause requires only a probability or

  substantial chance of criminal activity, not an actual showing of criminal activity.” Id.

         A magistrate judge’s finding of probable cause for issuance of a warrant is afforded

  “great deference.” United States v. Leake, 998 F.2d 1359, 1363 (6th Cir. 1993). The question is

  “whether, in light of the totality of the circumstances, the magistrate had a substantial basis for

  concluding that a search would uncover evidence of wrongdoing[.]” United States v. Sonagere,

  30 F.3d 51, 53 (6th Cir.) (internal quotation marks omitted), cert. denied, 513 U.S. 1009 (1994).

         The issue of the sufficiency of an affidavit was raised in United States v. Jones, 159 F.3d

  969 (6th Cir. 1998). There the defendant asserted that the search of his residence was based on a

  warrant which “failed to establish probable cause of a nexus between crack cocaine trafficking

  and the house searched.” Id. at 974. The court disagreed, stating:

                 The affidavit which supported the search warrant in this case contained
         the following relevant and supportive items of information: (1) a confidential
         informant had made at least six drug purchases, recorded by law enforcement
         officials, from Jones and a co-defendant; (2) on two occasions when the
         confidential informant was on the premises of Jones’s residence while being
         monitored by audio surveillance, law enforcement officials heard a drug
         transaction; (3) in the 72 hours preceding the affidavit, the confidential informant
         was on the premises and observed Jones and a co-defendant in possession of a
         quantity of cocaine for the purpose of unlawful distribution.

                The district court did not err by finding that such information provided
         probable cause to support the warrant.

  Id.

         Similarly, in United States v. Blair, 214 F.3d 690 (6th Cir. 2000), the defendants argued

  that there was “no basis to conclude that records relating to [their] businesses would be found in

  their residence.” Id. at 696. The court of appeals disagreed, stating:

                                                    3
Case: 5:06-cr-00162-DAP Doc #: 111 Filed: 06/12/06 4 of 11. PageID #: 748




  (5:06 CR 0162)

                 Considering the totality of the circumstances, we find that Kraft’s affidavit
         established probable cause for the issuance of the search warrant. Accordingly,
         the magistrate judge had a substantial basis to conclude that wrongdoing would be
         uncovered by the search. The affidavit provided information regarding Kraft’s
         extensive experience in investigating the financial aspects of drug trafficking and
         his professional opinion that drug traffickers keep financial records at their
         homes. In addition, the affidavit provided information obtained from reliable
         cooperating witnesses and electric company records. This information was
         sufficient for the issuance of the search warrant in this case. See United States v.
         Jones, 159 F.3d 969, 975 (6th Cir.1998) (stating that “[i]n the case of drug
         dealers, evidence is likely to be found where the dealers live”).

  Id.

         In the instant case, the lengthy affidavit filed in support of the search warrant application

  set forth in great detail the agent’s training, experience and knowledge, as well as the supporting

  information relating to his sources, numerous wiretaps, surveillance, and the like.

         Of particular relevance to the instant motion are those portions of the affidavit which link

  Ali to a drug dealer by the name of Ronald Dede, also a defendant in this case. See, e.g., Aff. ¶¶

  6, 12, 16 (identifying Dede as a known seller and distributor of cocaine in the Canton area); Aff.

  ¶¶ 25-38 (chronicling Dede’s methods of moving drugs in the Canton area); Aff. ¶¶ 39-40

  (chronicling surveillance of Dede the day before his meeting with Ali); Aff. ¶ 41 (recounting

  surveillance of Ali meeting Dede on September 16, 2005). On two occasions, Ali was observed

  in two different vehicles registered to him at 6967 Deer Trail Ave., NE Canton, Ohio, his

  residence which was searched. (Aff. ¶ 41, 54). The affiant further attested that all information

  pertaining to vehicle registrations were obtained through the Law Enforcement Automated Data

  System (LEADS) or the National Crime Information Center (NCIC). (Aff. ¶ 9).




                                                   4
Case: 5:06-cr-00162-DAP Doc #: 111 Filed: 06/12/06 5 of 11. PageID #: 749




  (5:06 CR 0162)

         Ali argues that there was no actual observation of either him or any drug activity at the

  residence that was searched. He argues that “[t]here must . . . be a nexus between the place to be

  searched and the evidence sought.” United States v. Carpenter, 360 F.3d 591, 594 (6th Cir.)

  (internal quotation marks and citation omitted), cert. denied, 543 U.S. 851 (2004).

         In Carpenter, the Sixth Circuit, sitting en banc, concluded that the mere fact that

  marijuana was growing near the defendants’ residence and that there was a road nearby “f[e]ll

  short of establishing the required nexus between the Carpenters’ residence and evidence of

  marijuana manufacturing.” Id. The court, however, pointed out that if the “affidavit had stated

  that beaten paths led from the marijuana patches to the door of the residence, and that two men

  had been spotted walking from the marijuana patches to the residence, the affidavit would likely

  have been sufficient to establish probable cause.” Id.1 Carpenter is distinguishable because,

  obviously, the mere fact that marijuana is growing near a residence does not connect the

  marijuana to that residence or to the people living in that residence.

         In the instant case, on one occasion Ali was observed driving a car registered in his name

  at the address of the residence that was searched. He met up with Dede, a known drug dealer, in

  the parking lot of a store. Ali exited his car and entered the vehicle driven by Dede, a vehicle



         1
             In the end, Carpenter was decided on the basis of the good faith exception set forth in
  United States v. Leon, 468 U.S. 897, 922 (1984) (courts should not suppress “evidence obtained
  in objectively reasonable reliance on a subsequently invalidated search warrant”).
           Ali also relies on United States v. Washington, 380 F.3d 236 (6th Cir. 2004). There, the
  district court granted a motion to suppress and, on appeal, the Sixth Circuit “assume[d] without
  deciding that probable cause did not exist[,]” id. at 240, and then went on to apply the Leon good
  faith exception. Like Carpenter, this case was decided on the basis of the Leon exception and
  offer little support for Ali’s argument about the lack of probable cause.

                                                   5
Case: 5:06-cr-00162-DAP Doc #: 111 Filed: 06/12/06 6 of 11. PageID #: 750




  (5:06 CR 0162)

  associated with documented drug activity which had been observed traveling to two known

  “stash houses.” After about 20 minutes Ali exited Dede’s car. (Aff. ¶ 41). On another occasion

  two months later, Ali was observed driving another car registered in his name at the address of

  the residence that was searched, again meeting up with Dede, who was again driving another car

  associated with drug activity. The two men engaged in activity between the two vehicles

  (involving open doors and open trunk lids) that clearly suggested a likely exchange of drugs.

  (Aff. ¶ 54).

          Given the overall extensive factual background set forth in the affidavit, based on three

  years of investigation, clearly this is sufficient to connect Ali to the alleged conspiracy and to

  make his residence (proven by his vehicle registrations) a potential source of evidence of crimes.

          Ali also argues that, as in United States v. Davidson, 936 F.2d 856 (6th Cir. 1991), at best

  the affidavit here merely creates a suspicion of illegal activity, which is not enough for a search

  warrant. However, in the face of the thorough affidavit in the instant case, Davidson offers little

  support because even that court pointed out that “ ‘probable cause requires only a probability or

  substantial chance of criminal activity, not an actual showing of such activity.’ ” Id. at 849

  (quoting Gates, 462 U.S. at 244 n.13). The affidavit here shows a substantial chance of criminal

  activity on the part of Ali.

          Ali also cites United States v. Algie, 721 F.2d 1039 (6th Cir. 1984), where the Sixth

  Circuit reversed the denial of a motion to suppress, noting that “no demonstrable illegal activities

  were observed at Highland Security Corporation.” Id. at 1042. Algie, however, is completely

  distinguishable. There, a pen register on a telephone at an apartment where illegal gambling



                                                    6
Case: 5:06-cr-00162-DAP Doc #: 111 Filed: 06/12/06 7 of 11. PageID #: 751




  (5:06 CR 0162)

  activities were known to be taking place, recorded 15 telephone calls placed to the telephone

  number registered to Highland Security Corporation. A search warrant for Highland was issued

  and federal officials seized a variety of gambling paraphernalia which resulted in Algie’s

  indictment. The Sixth Circuit rejected the argument that the 15 calls revealed by the pen register

  were sufficient reason for a search warrant, since the pen register could only reveal the fact of

  the calls, not the content of any conversation. The court concluded that “the limited information

  obtained from the pen register in this instance is insufficient to convince a reasonably prudent

  person that contraband or evidence of a crime would be found of the premises.” Id.

         In the instant case, a definite connection was made between Ali and Dede, a known drug

  dealer. (See Aff. ¶ 41). Moreover, the affidavit showed that Dede was involved in a broad-

  ranging conspiracy to possess and distribute cocaine. In light of the extensive facts set forth in

  the affidavit, a reasonably prudent person could be convinced that Ali was involved in this

  conspiracy and that evidence of illegal activity might, therefore, be found at his residence.

         The Court also rejects Ali’s argument that there is nothing in the affidavit to suggest that

  the residence searched was his residence. He claims there was no surveillance that revealed any

  connection between his two vehicles and that residence or between him and that residence. The

  affidavit, however, suggests there was surveillance. Even absent surveillance, law enforcement

  records showed not one, but two, vehicles that Ali was seen driving which were registered to him




                                                   7
Case: 5:06-cr-00162-DAP Doc #: 111 Filed: 06/12/06 8 of 11. PageID #: 752




  (5:06 CR 0162)

  at that address. This is sufficient to establish that it was his residence and any reasonable person

  would think so.2

         The Court concludes that the affidavit was sufficient to support a warrant for the search

  of 6967 Deer Trail NE, Canton, Ohio.



  B. The Leon Good Faith Exception

         Even if the affidavit were to be found insufficient, the Court is of the view that the

  exception set forth in United States v. Leon, 468 U.S. 897, 922 (1984), would apply.

         The Leon Court held that the Fourth Amendment’s exclusionary rule “should be

  modified so as not to bar the admission of evidence seized in reasonable, good-faith reliance on a

  search warrant that is subsequently held to be defective.” Leon, 468 U.S. at 905.

         The Sixth Circuit has pointed out that the Leon good faith exception does not apply in the

  following four circumstances:

         1) the supporting affidavit contained knowing or reckless falsity; 2) the issuing
         magistrate wholly abandoned his or her judicial role; 3) the affidavit is “so
         lacking in probable cause as to render official belief in its existence entirely
         unreasonable;” or 4) where the officer’s reliance on the warrant was neither in
         good faith nor objectively reasonable.

  United States v. Frazier, 423 F.3d 526, 533 (6th Cir. 2005).

         Here there is no evidence that Special Agent McMurtry “presented false or reckless

  statements to the magistrate judge . . . [or] that the magistrate judge acted merely as a rubber



         2
            Furthermore, if it were not his residence, he would not even have standing to challenge
  the search.

                                                   8
Case: 5:06-cr-00162-DAP Doc #: 111 Filed: 06/12/06 9 of 11. PageID #: 753




  (5:06 CR 0162)

  stamp or that the warrant was facially deficient.” United States v. Hython, 443 F.3d 480, 484

  (6th Cir. 2006).

         Therefore, the question is whether the affidavit was “so lacking in indicia of probable

  cause as to render official belief in its existence entirely unreasonable.” Leon, 468 U.S. at 923.

  As acknowledged by counsel for Ali at the hearing, “[t]his is a less demanding showing that the

  ‘substantial basis’ threshold required to prove the existence of probable cause in the first place.”

  Carpenter, 360 F.3d at 595 (quoting United States v. Bynum, 293 F.3d 192, 195 (4th Cir. 2002)).

         Ali points to United States v. Laughton, 409 F.3d 744 (6th Cir. 2004), which required a

  nexus between the residence to be searched and the criminal activity attributed to the defendant

  before reliance on the Leon exception could be sustained.

         In Laughton, the Sixth Circuit rejected the argument that the affidavit submitted in

  support of the application for the search warrant would justify application of the Leon exception.

  It characterized the affidavit as the kind of so-called “bare bones” affidavit which is “so lacking

  in indicia of probable cause.” Id. at 748 (citing United States v. Weaver, 99 F.3d 1372, 1378

  (6th Cir. 1996)).

         The particular affidavit which was found lacking in Laughton had related the facts in four

  paragraphs as follows:

                 Your Affiant, Det. Scott Clarke is employed by the Isabella County
         Sheriff Department and has been so employed for 4 years and is currently
         assigned to BAYANET [Bay Area Narcotics Enforcement Team] narcotics team.
         During the course of Affiant’s police career he has received extensive training in
         all aspects of law enforcement, including criminal investigation in regard to
         controlled substances. Affiant is familiar with the appearance of
         methamphetamine.



                                                   9
Case: 5:06-cr-00162-DAP Doc #: 111 Filed: 06/12/06 10 of 11. PageID #: 754




  (5:06 CR 0162)

                Currently your Affiant is involved with ongoing drug investigations in
         Clare County. Through the course of this investigation, your Affiant has worked
         with a Confidential Informant (CI), who has made multiple purchases of
         Methamphetamine in the last 48 hours. Affiant has observed this controlled
         purchase.

                 Through the course of this investigation your Affiant has learned that
         James Howard Laughton will keep controlled substances/drugs in the crotch area
         of his pants and in his pants pockets. Further that there are various stashes around
         the home.

                 This CI is believed to be credible and reliable by the Affiant due to the
         fact that the CI has provided reliable information in the past which was
         corroborated by Affiant. CI has provided information that there is more
         controlled substances located at or in the residence or located on the person of
         James Howard Laughton due to the fact that he has observed these controlled
         substances.

  Laughton, 409 F.3d at 746-47.

         Clearly the affidavit attacked in Laughton bears no resemblance to the extensive fact-

  based affidavit in the instant case. Moreover, the Laughton court noted with disapproval the fact

  that the district court, in applying the Leon exception, had “explicitly considered not only what

  was in the affidavit, but also what other facts were known to the deputy but not included in the

  affidavit.” Id. at 751. The court held that “a determination of good-faith reliance, like a

  determination of probable cause, must be bound by the four corners of the affidavit.” Id.

         In this case, the affidavit is not “bare bones;” rather it sets forth in considerable detail

  facts underlying the Agent’s belief that the defendants in this case, including Ali, were engaged

  in a drug conspiracy and were likely to have evidence of that fact in their homes.

         Even though the nexus between Ali and criminal activity and Ali and the Deer Trail

  residence is not as strong as for other defendants in the case, what is required is “some modicum



                                                    10
Case: 5:06-cr-00162-DAP Doc #: 111 Filed: 06/12/06 11 of 11. PageID #: 755




  (5:06 CR 0162)

  of evidence, however slight, to connect the criminal activity described in the affidavit to the

  place to be searched.” Laughton, 409 F.3d 749 (citing Washington, 380 F.3d at 242 (citing

  Carpenter, Van Shutters, Schultz, Savoca,)3). That “modicum” certainly exists as to Ali.

         Therefore, the Court concludes that, even if the affidavit were insufficient to establish

  probable cause, which the Court rejects, the Leon good faith exception would still apply.



                                         IV. CONCLUSION

         The Court concludes that the affidavit was sufficient to support the issuance of a search

  warrant for Ali’s residence and that, in any event, the Leon good faith exception would apply.

         Accordingly, Ali’s motion to suppress (Doc. No. 69) is denied.

         IT IS SO ORDERED.




   June 12, 2006                                  s/ David D. Dowd, Jr.
  Date                                          David D. Dowd, Jr.
                                                U.S. District Judge




         3
            United States v. Carpenter, 360 F.3d 591 (6th Cir.2004) (en banc); United States v. Van
  Shutters, 163 F.3d 331 (6th Cir. 1998); United States v. Schultz, 14 F.3d 1093 (6th Cir. 1994);
  United States v. Savoca, 761 F.2d 292 (6th Cir. 1985).


                                                   11
